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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                              )
UNITED STATES OF AMERICA,                     )
                                              )
               Plaintiff,                     )
                                              )
        v.                                    )        Criminal Action No. 21-cr-238 (TSC)
                                              )
ROBERT SCOTT PALMER,                          )
                                              )
               Defendant.                     )
                                              )

                        ORDER ON COVID POLICIES AND PROCEDURES

         An plea hearing in this case is scheduled to begin at 11:15 a.m. on Monday October 4,

2021. The hearing will take place in Courtroom 9. The following procedures and restrictions will

govern the proceeding, consistent with the practices outlined in Appendices 7 and 8 of the

Continuity of Operations Plan During the COVID-19 Pandemic. See CONTINUITY OF OPERATIONS

PLAN DURING THE COVID-19 PANDEMIC (July 15, 2020) Appendix 7 and Appendix 8 (updated

August 10, 2021). 1

         1. Persons seeking to enter the courtroom except for criminal defendants and lay

             persons who have been subpoenaed to appear and testify in proceedings must

             have been fully vaccinated against the COVID-19 virus before they are

             permitted to enter. Persons not vaccinated, including criminal defendants and

             lay persons who have been subpoenaed to appear and testify in proceedings,

             must have proof of a negative COVID-19 test administered no more than 72

             hours prior to seeking entry. All participants and attendees must check-in with

             the Courtroom Deputy Clerk Tim Bradley upon arrival at the courtroom and

             confirm:

                a) that they are fully vaccinated or
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    https://www.dcd.uscourts.gov/continuity-operations-plan-covid-19-pandemic
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             b) that they meet both of the following criteria:

                     i. they are a criminal defendant or lay person who has been
                        subpoenaed to appear and testify in the proceedings; and

                    ii. they have proof of a negative COVID-19 test administered no
                        more than 72 hours prior to seeking entry.

      2. All participants must wear face masks covering the mouth and nose throughout the

         entire proceeding, except as directed by the Court.

      3. The number of individuals in the courtroom will be limited to the minimum necessary.

         Each party may have a maximum of three individuals seated at counsel table. A

         maximum of seven individuals may be seated on each side of the gallery in a

         physically distanced manner.

      4. Witnesses presenting live testimony will wait in witness rooms located adjacent to

         the courtroom prior to testifying. The Courtroom Deputy Clerk will show counsel the

         location of the witness rooms the morning of the hearing.




Date: October 4, 2021


                                           Tanya S. Chutkan
                                           TANYA S. CHUTKAN
                                           United States District Judge

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